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UNITED STA TES DISTRICT COURT D E" *. O.c.

WESTERN DISTRICT OF TENNESSEEDS JUN 20 PH g= 97

 

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win n ""» :~:LZMI_JH[S
LEDIC REALTY SERVICES, LTD., JUDGMENT IN A CIVIL CASE
d/b/a LEDIC MANAGEMENT GROUP;
MEMPHIS 99 TOWER, L.P.
v.
ROYAL SURPLUS LINES INSURANCE CASE NO: 04-2019-D

COMPANY; THE HARTFORD STEAM
BOILER INSPECTION & INSURANCE
COMPANY OF CONNECTICUT

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Consent
Order Of Dismissal with Prejudice entered on June 14, 2005, this
cause is hereby dismissed with prejudice.

    
 

COURT
RQBERT R. m mouo
Clerk of Court

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(By) Deputy Clerk 0

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
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Honorable Bernice Donald
US DISTRICT COURT

